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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ZHI LI and LUXIU SUN, individually and
on behalf of others similarly situated,

                            Plaintiffs,                     ORDER OF DEFAULT

              - against -                                  19 Civ. 5309 (PGG) (KNF)

SMJ CONSTRUCTION INC., STEVE
KANG, JANE DOE and JOHN DOE #1-10,

                            Defendants.


PAUL G. GARDEPHE, U.S.D.J.:

                The Complaint was filed on June 7, 2019 by filing the Complaint. (Dkt. No. 5)

                This action is brought under the Fair Labor Standards Act, the New York Labor

Law, and the New Jersey Wage and Hour Law. Plaintiffs served Defendant SMJ Construction,

Inc. on June 14, 2019, and served Defendant Steve Kang on January 5, 2020. (Dkt. Nos. 7, 15)

                Defendants have not filed an answer, moved against the Complaint, or appeared

in this action. (See Certificate of Defaults (Dkt. Nos. 12, 19))

                This Court ordered Defendants to show cause on December 10, 2020, why a

default judgment should not be entered against them.

                Plaintiff served the Order to Show Cause on Defendant Steve Kang on October

26, 2020 (Dkt. No. 26), and served Defendant SMJ Construction, Inc. on November 5, 2020, at

its last known address.1 (Dkt. No. 27)

                Defendants filed no opposition to Plaintiffs’ motion for a default judgment and

did not appear at the December 10, 2020 hearing.



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    SMJ Construction had changed locations and left no forwarding address. (Dkt. No. 27)
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                For the reasons stated above, an order of default is entered against Defendants

SMJ Construction, Inc. and Steve Kang.

                This matter is referred to Magistrate Judge Fox for an inquest on damages and a

recommendation as to an award of costs and attorneys’ fees. The Clerk of Court is directed not

to close this case.

Dated: New York, New York
       December 10, 2020




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